EXHIBIT
 FOUR
From:            Willis, Fani
To:              Moran, John S.
Cc:              Terwilliger, George J. III; Englert, Joseph M.; Wooten, Will; nathan@wadeandcampbell.com
Subject:         RE: Georgia v. Meadows, No. 1:23-cv-03621-SCJ (N.D. Ga.) - Letter re Voluntary Surrender
Date:            Tuesday, August 22, 2023 6:25:56 AM
Attachments:     image001.png




**EXTERNAL EMAIL; use caution with links and attachments**




Good Morning Mr. Moran:

I am not granting any extensions. I gave 2 weeks for
people to surrender themselves to the court. Your
client is no different than any other criminal defendant
in this jurisdiction. The two weeks was a tremendous
courtesy.   At 12:30 pm on Friday I shall file warrants in
the system. My team has availability to meet to discuss
reasonable consent bonds Wednesday and Thursday.



Yours in Service,


Fani T. Willis
Fani T. Willis
District Attorney
Atlanta Judicial Circuit
Fulton County, Georgia
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disclosure under applicable law. If the reader of this message is not the intended recipient, you
are hereby notified that any dissemination, distribution or copying of this communication is
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immediately.


From: Moran, John S. <JMoran@mcguirewoods.com>
Sent: Monday, August 21, 2023 6:11 PM
To: Willis, Fani <Fani.WillisDA@fultoncountyga.gov>
Cc: Terwilliger, George J. III <GTerwilliger@mcguirewoods.com>; Englert, Joseph M.
<JEnglert@mcguirewoods.com>; Wooten, Will <Will.Wooten@fultoncountyga.gov>;
nathan@wadeandcampbell.com
Subject: Georgia v. Meadows, No. 1:23-cv-03621-SCJ (N.D. Ga.) - Letter re Voluntary Surrender

DA Willis,

Attached please find a letter on behalf of our client, Mark R. Meadows. We will also send a hard
copy via Federal Express.

Regards,

John S. Moran
Partner
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Black Lives Matter Plaza
Washington, DC 20006
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